Case 3:20-cv-00070-ARS Document1 Filed 04/30/20 Page 1 of 4

*#*%*Please be advised that the use of these forms may not be proper for your specific legal situation*****
****Please make an independent determination whether use of these forms is appropriate****

UNITED STATES DISTRICT COURT
DISTRICT OF NORTH DAKOTA

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I. JURISDICTION. State the grounds for filing this case in Federal Court (include federal statutes or
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(Enter full name of each Plaintiff, above) §
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VS. ; § Civil Case No. __

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If. PLAINTIFF. For each Plaintiff list: name and address including City, County and ‘State.

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NO2) TeotasS! NE
Farrdale NW S627

If. DEFENDANT. For cach Defendant list: name and address including City, County and State.

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SAMPLE COMPLAINT 2
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Case 3:20-cv-00070-ARS Document 1 Filed 04/30/20 Page 3o0f4

IV. CLAIM. State the facts of your claim. Include the name of each person involved, dates and

places. Be as specific as possible. Do not give any legal argument or cite any cases or statutes. Use
additional sheets of paper if necessary.

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V. ADMINISTRATIVE PROCEDURES. If applicable, state whether your claim was heard by
any administrative agencies; the type of proceedings; the date and place of any proceedings; the

outcome of any administrative proceedings.
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SAMPLE COMPLAINT 3
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VII. SIGNATURE. Each Plaintiff must individually sign this complaint.

Signed this Wine dayof MPR a PO ©

Signature of Plaintiff Si ignatine of Plaintiff

 

   

 

 

Printed Name of Plaintiff us Printed Name of Plaintiff

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~ (Toe 26]

Telephone N “""" ‘Telephone Number of Plaintiff .

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OM. COMPLAINT’ _ 4

 

 

 
